  Case 2:07-md-01873-KDE-MBN Document 14513-1 Filed 06/24/10 Page 1 of 1




                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA


In Re: FEMA TRAILER                                MDL NO. 1873

FORMALDEHYDE PRODUCTS                              SECTION: N(4)

LIABILITY LITIGATION

THIS DOCUMENT RELATES TO:                          JUDGE ENGELHARDT
Gloria Jean Otis and Bernice Otis v Gulf           MAG. JUDGE ROBY
Stream Coach, Inc. et al.; Case No.1:09-840-
HSO-JMR (MD-LA No. 2:10cv01363-KDE-
ALC )


                                           ORDER

       The foregoing Motion to Enroll Additional Counsel of Record filed by Plaintiff having

been duly considered,

       IT IS ORDERED that J. Rock Palermo (LA Bar #21793) of the law firm of Bice Palermo

& Vernon, LLC be hereby enrolled as additional counsel of record for Plaintiff in the captioned

MDL proceeding.


       New Orleans, Louisiana, this ______ day of June, 2010


                                                   _______________________________
                                                   KURT D. ENGLEHARDT
                                                   UNITED STATES DISTRICT JUDGE
